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   UNITED STA'|ES DISTRICT COURT
   EASTERN DISTRICT OF NEW YORK

   LESALDO SHALTO,
                                                                             Case        No. lgCVl009
                                   PIaintiff,
                                                                             STIPTJLATION OF'
           -against-                                                         SETTLBMENT

   OWM VERNON LLC dlblaCORNER BISTRO and
   ANZALONE PROPERTIES LLC,

                                   De[e ndants.



          WHERBAS, Plaintiff LESALDO SI-IALTO ("p                      ifP') filed a complaint in the above-

   captioned action against defendants OWM VERNON t,l-C                  a CORNER BISTRO (hereinafter,

   the "Restaurant"; the Plaintiff and lhe Restaurant are identi        as the   "Parties" and each a "Party"),

   and ANZALONE PROPERTIES LLC, alleging inter alia, certain purported violations of the

   Americans with Disabilities Act, 42 U.S.C 12181,and relared claims arising under New York State

   Executive Law, the New Yor[< City I-lLunan Rights Larv. arrd           New Yorl< Civil Rights Law, and

   seeking certain fbrurs of reliel'thereunder: (the "Action");    a


          WHEREAS, the clairns alleged hereirr by Plaintiff             se in connection with the premises

   l<nown as 47-18 Vernon Boulevard, Long Island City^ New             orl<l and

          WHERBAS, the Restaurant has denied all            al         ons that     it   has violated any laws,

   statutes, rules, regulations or ordinances; and

           WHEREAS, the Restaurant wishes to resolve the                    s against the Restaurant in tlie

   Action, withoLrt an admission of liability, on the terms aud        nditions set I'orth in this Stipulation

   of Settlement (thc "Stipulation"); it is therefor.e

           STIPULATED, CONSBNTED AND AGRBED,                            the clairns in the Action against the

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  Restaurant shall be settled as follows:

          1.      Remedial Measures.

         a.      The RestaLrrant agrees to provicle a permanent nleans of entry into the Restaurant

  by a patron in a wheelchair by installation of a permanent ralrp, with railings and a lancling

  (collectively, tlte "Ramp"), which shall be compliant with the accessibility requirements set forth

  in Sections 405 and 505 of the 2010 ADA Starrclards for Accessible Design. The cost of the Rernp

  shall be the sole responsibility of the Restaurant.

         The Restaul'ant shall seek such perrnits arrcl approvals as are rlecessary to installthe Ranip.

  In the event any goverltmental agency requires any revisions to                sr-rbrnitteci plans   for the Ramp

  which do not prohibit the installation of a peruranent ramp o               nature, tlre proposed Rarnp sliall

  be rnodified as required by such governmental agency             ancl   such revisiorrs shall not relieve the

  Restaurant of its obligations herein.

         The installation ol'the Rarnp shall be completed                  six months (the "End Date") of the

  date the Stipulation is filed with the United States District             rt, Eastern District of Ner,v York

  (the "Start Date"). The End Date shall be    sub.f   ect to events               the control of the Restaurant.

  such as delay in obtaining approved building or zoning pe                its (application lbr which shall           be

  filed no later than 90 days f}om the Staft Date), lailLrre     o1.      any governllent inspectors to make

  inspections, contractor defaults, worl< stoppages or       s                due to labor-related disputes or

  weather conditions which plevent work fi.om going forwa                 acts   of Cod,.fbrce       maf ew"e, acts   of
  war or terrorisrn, and the like. in the event ol'such circum                   it is agreed that   Lrpon a   showing

  of diligent efforts to comply with the tenns of the Stipulati             the Restaurant rnay rcquest fi'om

  Plaintiff s counsel arr extension of time to complete the said instaliation, which consent sheril not
                                                        2

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  be unreasonably    withheld. Any failure to notify Plaintiff s coursel ol'delays and clocumentation

  of diligent efforts prior to the End Date, will be deemed a faih.rre to cornply with the
                                                                                           Stipulation

  and shall constitttte a breach tliereol'. Within 30 days of the installation of the
                                                                                      Raurp, the attorneys

  for the Restaurairt shall notily Plaintiff   s counsel and shall   furnish phoiograph(s) of the completecl

  Ramp.

          b.      By the End Date, the Restaurant shall provide an entranoe cloor with an I B inch

  space on the pull side   of tlte door, wl,ich rnay lre accomplishecl by v,riciening the cloor recess or

  making the entrance door flush with the bLritding            line. Tlre door swing shall       rrot create an

  obstruction to patrons in wheelchairs opening the door {l-orn the Ramp.

          c.      No later than the End Date, the Restaurant shall rentove or reconfigure the inte rior

  vestibr"rle at the entrance so that it does not interfere   with Plaintiff s entry in his r,vheeichair.

          d.      No later than the End Date, the Restaurant shall provide a wheelchair accessible

  table which meets the requiretrents of section 902 ofthe 2010 Starrdards, which          willallow a patron
  in a wheelchair to place his or lter knees ancl toes beneath the table, looated on an accessible route

  which provides proper clear floor space for seating and does not require seated patrons to rrrove

  out of the way of an apploaching wheelchair, or I'or a wheelchair patrol'r to move to allow passage

  of other patrons, as set lbrth irr Sections 226.1 and 226.2 of tlte 20I 0 Standarcls.

          e.      No later than the End Date the RestaLrrarrt shall remediate the toilet room       as   follows:

          i.      install a grab bar at proper.height behind the toilet

          ii.     nrove the flLrsh handle to the wide side of the toilet

          iii.    install the paper towel dispenser at a compliant accessible height

          iv.     iusulate the hot water pipes below the sinl<s
                                                       3


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            3.      Monetary Consideration,

            The Restaurant will cause to be paicl to Plaintil'1, to the order of anil through his
                                                                                                  attorney,

   Donald J. Weiss, the sum of Eight Thousan<J Dollars (Ii8,000.00) (hereinal1er, the ,,settlement

  Payment")' 'fhe Settlement Payment includes any and all rnonetary claiurs against the Restagrant

  for damages, legal fees, expert fees, costs, ancl ariy and all actual or potential 1.ees, costs,            and

  expenses incurred     ill   connectiott with the Aotion. The Settleurent Payntent shall be paici and

  delivered to Plaintiff s attorney on or befbre Noventber 15, 2:019. Upon receipt of the Settlement

  Payment, Plaintiffs counsel shall        {illa   StipLrlatiolr of Dismissal in the lonn annexed hereto.

            4.     Release.

            In consideratior, of the Restaurant's obligations under this Stipulation, the plaintiff            on

  behalf    of himself, his    heirs, executors, beneficiaries, trustees, administrators, representatives,

  stlccessors aud assigns ("Releasor") hereby remises, releases, acquits, satisfies,        ald discharges the
  Restaurant,    its parents, subsidiaries ancl affiliates, and their current andior l.ornrer officers,

  directors, metnbers, shareholders, el.nployees, attorneys, trustees, aclministrators) l.epresentati,les,

  successors and assigns ("Re1easees") fi'om all actions, causes          of action, suits, debts, dries, sums

  of tnoney, accounts, reckonings, bonds, bills, specialties, covenants, contracts,             controversies,

  agreements, protlises, variattces, trespasses, damages, judgments, exterrts, executions, claims, and

  demands whatsoever,         in law, equity, or admiralty, which the Releasor ever had. now has or

  hereaiier can, shall or     llay   have against the Releasees fi'om the beginnirrg of the world    r-rp   to the

  date of this Stipulation     witli respect to all claims    macle, or which could have been made, in the

  Action.

            5.     No Adrnission of l-iability.



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           Nothing in this StipLrlation shallconstitlrte or be deemeclto oonstitute an
                                                                                       admissio, of {lLrlt,

   wrongdoing or Iiability on the part ol'the Restaurant. The Restaurant acknowleclges,
                                                                                        withoLrt

   conceding, any infirrnity in their def'erises. that it is entering into this StipLrlation
                                                                                             solely in order to

   settle this dispLrte and to avoid the lurther expense and inconvenience           of litigation. ptailtifF
   acknowledges that nothing herein is to be constriled as an admission of liability
                                                                                     or culpabilit,v by

   the Restaurant, and acknowleclges fufther that the remeclial steps to be taken herein constitute
                                                                                                             a

   satisfactory resolutiorr of the access clairls alleged herein.

           6.      Fees and ExDenses.

           Each of the Parties shall bear their own attorneys' f'ees and costs incurued in connection

  with ot'related to the Action not otherwise encornpasseci by the terms ol'this Stipulation

  provided, ltowever, that in the event of breach of ttiis StipLrlation. the non-breaching party shall

  be entitled to collect any fees 01'expenses incurrecl, inclucling reasonable attorneys' fees, by

  reason of any efforts to enforce this Stipulation.

           7.      Authority.

          Each signatory ltereto represents and warrants that helslre has full authority to enter into

  this Stipulation on behalf of that Party. All references to the Restaurant herein shalt be deemed

  to include its successor"s and assigns.

           B.      Governing    Larry and   Jurisdiction.

          The Stipulation shall be deerned to be made ancl errtereci irrto in the State of New yorl<, and

  shall in all respects be interpreted, errforced ancl governed under the laws of New york. The parties

  agree that venue for any litigation brought to enlbrce the Stipulation shall lie in the United States

  District Court for tlte Eastern Distlict of New Yorl<, or, if that Court refuses to acoept.iur.isdiction,



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   terms of this Stipulation and the enforcenient thereol.

           9.       lnterpretation.

           The larrguage of all parts of this StipLrtation shall    i   all cases be construed as t,r whole,

   according to its fair treaning, and rtot strictly for or against any o1'the Parties. This Stiputation
                                                                                                         has

   been negotiated by and between the Parties' respective counsel, ancl shall not be construed
                                                                                               against

   the "drafler" of the Stipulation,

           10.     Modification of Stipulation.

           This Stipulation rnay be ameuded, revoked, changed, or modified only upon a written

   agreement executed by the Parties. No waiver of any provision o{'this Stipulation            will   be valid

   unless it is in writing and signed by the party against whom such waiver is charged.

           11.     Entire Agreement.

           This Stipulation sets lorth the entire agreement between the Parties hereto, and fully

   supersedes any and    all prior agreements or understatrcliugs between the Palties hereto pertailirrg

   to the subject matter hereof.

           12.     Sigrratures in Counterparts.

           This Stipulation can be executed in any nurnber      o1,       nterparts, each   ol which shall   be

   taken to be one and the same instrurrent. l'or the same effect       if the Parties had the sarne signature

   page. A facsirriile copy, or Adobe PDF. of any party,s si             shallbe deemed as legally binding

   as an original signatLrre.




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   13.      Headings.

            The headings of the Sections in this SlipLrlation have been iuserted
                                                                                 I'or convenieuce 01

   reference only, are not intended to be considered as a part hereol,
                                                                       anci shall not mociiiy or restrict

   any of the terms or provisions hereof.

            IN WITNESS WI-IEREOF, the Parties have hereunder sct their          hancls as ol. the date set

   forth below.


   Dated: New York, New York
                             .2019



   OWM VERNON LLC                                    LESALDO JFIAI.TO

   By:
   Narne:
   TitIC:




   So Ordered:



   USDCJ




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  13.      Headinqs"

           The headings of the Sections in this Stipulation have been inserted fbr convenience or

  ref'erence only, are not irrtended to be considered as a part hereol, and shall not rnodify or restrict

  arry of the tenns or provisions hereol.




  forth below.


  Dated: New York, New Yorl<
     $E{erv\BEq        -7   ,zote



  OWM VtrRNON LLC                                    LESAI,DO SI_IAI,TO

  By:
  Name:
                                                        i*.   ttr- a u,.
  Title:



  So Ordered:



  USDC.I




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